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                          APPEAL NO. 23-15234
             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

                   PAUL A. ISAACSON, M.D., et al.,
                                            Plaintiffs-Appellants,

                                     v.

  KRISTIN K. MAYES, in her official capacity as Arizona Attorney
                       General; et al.,
                                            Defendants-Appellees,
                                    and
MICHAEL B. WHITING, County Attorney for Apache County, in his
                 official capacity, et al.,
                                            Defendants,

                                    and

WARREN PETERSEN, Arizona Senate President, and BEN TOMA,
Speaker of the Arizona House of Representatives,

                           Intervenors-Defendants/Proposed Appellees.

         On Appeal from the United States District Court
                    for the District of Arizona
       Case No. 2:21-cv-01417-DLR / Hon. Douglas L. Rayes

    PROVISIONAL ANSWER BRIEF OF INTERVENORS-
 DEFENDANTS/PROPOSED APPELLEES ARIZONA SENATE
 PRESIDENT PETERSEN AND SPEAKER OF THE ARIZONA
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                        STATEMENT OF ISSUES
     1.    Whether Plaintiffs have failed to establish pre-enforcement
standing when they have failed to identify a constitutional basis for their
purported injury, they do not have plans to violate Senate Bill 1457 (S.B.
1457), and there is no likelihood that they will violate S.B. 1457.

     2.    Whether S.B. 1457, which has clear provisions that even
Plaintiffs know how to apply, is clear enough to establish that there is at
least one circumstance in which it is applicable.
                      STATEMENT OF THE CASE
                             Senate Bill § 1457
     Since 2011, Arizona has protected the most vulnerable members of
society from race- and sex-based discrimination by prohibiting any
person from “perform[ing] an abortion knowing that the abortion is
sought based on the sex or race of the child or the race of a parent of that

child.” A.R.S. § 13-3603.02(A)(1).
     In 2021, Arizona extended the Reason Regulations’ safeguards by
promulgating S.B. 1457 to “protect[] the disability community from
discriminatory abortions, including for example Down-syndrome-
selective abortions.” 1 Senate Bill 1457 § 15, 55th Leg., 1st Reg. Sess.
(Ariz. 2021) (“S.B. 1457”). The law prohibits any person from


1The provisions of S.B. 1457 are known as the “Reason Regulations”
because they provide guidelines related to a woman’s reason for seeking
an abortion. Isaacson v. Mayes, 2023 WL 315259, at *1 (D. Ariz. 2023).

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“perform[ing] an abortion knowing that the abortion is sought solely
because of a genetic abnormality of that child.” S.B. 1457 § 2. “Genetic
abnormality” is defined as “the presence or presumed presence of an
abnormal gene expression in an unborn child, including a chromosomal
disorder or morphological malformation occurring as the result of

abnormal gene expression.” A.R.S. § 13-3603.02(G)(2).
     The Reason Regulations contain two exceptions. First, a “[g]enetic
abnormality . . . [d]oes not include a lethal fetal condition.” Id. Second, a
“medical emergency” exception allows abortions necessary, in “the
physician’s good faith clinical judgment,” to prevent the death or
“substantial and irreversible impairment of a major bodily function” of
the pregnant woman. A.R.S. § 13-3603.02(A), (G)(3); § 36-2151(6).
Moreover, the Act exempts from all criminal or civil liability the mother
who aborts her child because of the child’s genetic abnormality. A.R.S.

§ 13-3603.02(F).
     In passing the law, Arizona found that “prohibiting persons from
performing abortions knowing that the abortion is sought because of a
genetic abnormality of the child advances at least three compelling state
interests.” S.B. 1457 § 15. The statute: (1) “protects the disability
community from discriminatory abortions,” (2) protects Arizona citizens

from coercive medical practices “that encourage selective abortions of
persons with genetic abnormalities,” and (3) “protects the integrity and



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ethics of the medical profession by preventing doctors from becoming
witting participants in genetic-abnormality-selective abortion.” Id.
              Procedural Posture at the District Court
     On January 19, 2023, the district court denied Plaintiffs’ motion to
preliminarily enjoin the Reason Regulations. 1-ER-3–14. Plaintiffs had

argued, pursuant to the First and Fourteenth Amendments, that the
Reason Regulations were unconstitutionally vague. 2-ER-114–139. The
district court rejected the claim, concluding that Plaintiffs had failed to
establish that they had suffered an injury-in-fact for the purposes of pre-
enforcement standing. 1-ER-13. In particular, the court held that the
conduct Plaintiffs claimed they were chilled from engaging in was not
constitutionally protected in light of Dobbs v. Jackson Women’s Health
Organization, 142 S. Ct. 2228 (2022), and the speech Plaintiffs claimed
they were self-censoring was not proscribed by the Reason Regulations.

1-ER-13. Plaintiffs filed an interlocutory appeal of the court’s order
denying a preliminary injunction, 3-ER-302–306, and moved the district
court to stay the case pending the outcome of this appeal, ECF No. 163.

           The Attorney General’s Position on S.B. 1457
     Kris Mayes was sworn in as the Arizona Attorney General on
January 2, 2023. 2 Attorney General Mayes has publicly expressed her



2Jonathan J. Cooper, After Narrow Election, Democrat Katie Hobbs
Sworn in as Arizona Governor, PBS (Jan. 2, 2023), http://bit.ly/3Hywtbn.

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belief that the Reason Regulations are “unconstitutional” and “violate
Arizona’s privacy clause,” 3 which is consistent with her refusal to defend

the law in this litigation. 4 Attorney General Mayes has promised not to
prosecute doctors and other medical professionals who perform abortions
in violation of Arizona law, and vowed to use her supervisory authority
to prevent county attorneys from prosecuting illegal abortions. 5 And
Attorney General Mayes has refused to appeal the Arizona Court of
Appeals’ ruling invalidating Arizona’s pre-Roe pro-life law.6

                   SUMMARY OF THE ARGUMENT
     Plaintiffs say they are constitutionally entitled—as medical
professionals—to end the life of an unborn child when asked to do so
solely because the baby has a genetic condition.
     Plaintiffs lack standing because they have not suffered an injury-
in-fact. To establish injury in the pre-enforcement context, Plaintiffs are
first required to show that the claim is affected by a constitutional



3 Associated Press, U.S. Supreme Court: Arizona Can Enforce Genetic
Issue Abortion Ban, KTAR NEWS (June 30, 2022), http://bit.ly/3RvhRy5.
4See 2-ER-20–21; Defendants’ Notice of No Position on Appeal, ECF No.
43.
5Kris Mayes, 12 Point Plan, https://bit.ly/3DEiEHf; see Ariz. Agency
Handbook, Ch. One at 1.3.7 (2018) (citing A.R.S. § 41–193(A)(4)(4)–(5)).
6Greg Hahne, Arizona Attorney General Kris Mayes Will Not Challenge
Appellate Ruling on Territorial Abortion Law, KJZZ (Jan. 3, 2023),
https://bit.ly/40u4ORO.

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interest. But Dobbs spelled the end of abortion as an independent
constitutional due process right—and even under the now-overturned
Roe v. Wade decision, it was a due process right only of pregnant women,
not doctors.
     Further, Plaintiffs’ standalone due process claim, which they base

on a right to life, liberty, and property, does not articulate a concrete and
particularized injury that is actual or imminent. They merely claim to
suffer from vague “compliance costs” (all of which are speech-based),
stemming from their fearful “over-compliance” with the Reason
Regulations, which contain no prohibitions on speech. Plaintiffs neither
establish the constitutional basis for their claim, nor do they show how it
causes an imminent, concrete harm. They have therefore failed to meet
the first prong of pre-enforcement standing.
     The second requirement is Plaintiffs must show they plan to take

actions to violate the Reason Regulations. But the only action they
threaten to take is counseling mothers who might want to abort unborn
babies with a genetic abnormality. This is not conduct that the Reason
Regulations prohibit. As for the third requirement for pre-enforcement
standing, Plaintiffs cannot establish that they are likely to be prosecuted
if they violate the Reason Regulations. To the contrary, the attorney

general has vowed that she will not enforce the statute, and she will
prevent county prosecutors from doing so.



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     For all these reasons, this Court should affirm the district court’s
finding that Plaintiffs failed to establish standing for the purposes of
their pre-enforcement challenge to the Reason Regulations.
                        STANDARD OF REVIEW
     This Court reviews de novo a district court’s conclusion that a

plaintiff does not have Article III standing. Cetacean Cmty. v. Bush, 386
F.3d 1169, 1173 (9th Cir. 2004).
                                ARGUMENT

    The district court correctly concluded that Plaintiffs lack
   standing to bring a pre-enforcement challenge to S.B. 1457.
     Plaintiffs are abortion providers grasping for a constitutional basis
to abort unborn children because of their disabilities, but they have no
standing to bring their challenge. Post-Dobbs, abortion laws are treated
like any other health-and-safety regulations: they are permissible if
supported by any rational basis advancing a state interest. And
Plaintiffs’ standalone due process claim—based on an opaque allegation

of being forced to “over-comply” with the Reason Regulations—fails for
lack of an injury that is concrete, particularized, actual, and imminent.
Even if Plaintiffs refuse to abide by the provisions of S.B. 1457, they face

no genuine threat of imminent enforcement, because the state’s chief law
enforcement officer has vowed not to prosecute.
     Article III of the U.S. Constitution only authorizes federal courts to
hear “cases” and “controversies.” Standing is a key component of the


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Article III case-or-controversy requirement. Lujan v. Defenders of
Wildlife, 504 U.S. 555, 560 (1992). To establish constitutional standing,
plaintiffs must demonstrate three elements: (1) injury-in-fact—the
plaintiff must allege “concrete and particularized” and “actual or
imminent” harm to a legally protected interest, id. at 560–61, (2) causal

connection—the injury must be “fairly traceable” to the challenged law,
Allen v. Wright, 468 U.S. 737, 751 (1984); and (3) redressability—a
favorable decision must be “likely” to redress the injury-in-fact, Lujan,
504 U.S. at 560–61. As the district court correctly concluded, Plaintiffs
cannot establish injury-in-fact to support standing in their pre-
enforcement challenge.

     A.    Plaintiffs have failed to show that they have suffered
           an actual and imminent injury-in-fact.
     In the context of pre-enforcement challenges, a plaintiff may
establish that he is in imminent danger of suffering a concrete harm by
showing that he (1) intends to engage in conduct that is “arguably

affected with a constitutional interest,” (2) the conduct is barred by a
statute, and (3) there is a “credible threat of prosecution.” Susan B.
Anthony List v. Driehaus, 573 U.S. 149, 159 (2014) (cleaned up). Plaintiffs

have failed on all three prongs of the inquiry.




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           1.     Plaintiffs have not brought a claim that is affected
                  with a constitutional interest.
     Plaintiffs   argue    that    the       requirement   of   an   underlying
constitutional injury “fails to account for the constitutional due process
violations that vague laws inflict, even in the absence of an enforcement

action, and regardless of whether they govern constitutionally protected
conduct.” Appellants' Br. at 56, ECF No. 25. Their attempt to generate
an injury-in-fact, despite the absence of a constitutional basis for their

claim, is meritless.
     While the district court acknowledged that this Court “cautions
against reaching the merits of constitutional claims when determining

whether” a claim is affected by a constitutional interest, it reasoned that
it had to “examine to some degree whether Plaintiffs’ conduct is
constitutionally protected, otherwise this factor would serve no purpose.”
1-ER-9 (citing Arizona v. Yellen, 34 F.4th 841, 848 (9th Cir. 2022)). The
district court’s reasoning makes sense, because otherwise, any
professional engaged in a normal business activity could bring an Article
III “case” or “controversy” solely by virtue of the fact that a regulation
may be vague—even if no other constitutional right is implicated. See
1-ER-6–7, 13 (citing Bankshot Billiards, Inc. v. City of Ocala, 634 F.3d

1340, 1350 (11th Cir. 2011)); (Driehaus, 573 U.S. at 158–66); cf. Vill. of
Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 499 (1982)
(stating that “the most important factor affecting the clarity that the



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Constitution demands of a law is whether it threatens to inhibit the
exercise of constitutionally protected rights.”).
     Contrary to Plaintiffs’ argument, the district court’s reliance on
Bankshot was consistent with its reliance on Driehaus. See Appellants’
Br. at 54–60; see also 1-ER-6–7, 13. In both cases, the plaintiffs were

required to establish that a constitutional interest was implicated by the
complaint. Compare Driehaus, 573 U.S. at 158–66 (requiring the
plaintiff’s claim to be affected by a constitutional interest and finding it
where the plaintiff’s speech-based conduct implicated the First
Amendment) with Bankshot, 634 F.3d at 1350 (finding no constitutional
injury where a pool hall owner’s business-related claim did not implicate
a constitutional interest). This Court should therefore consider
whether—at a bare minimum—Plaintiffs can connect their abortion-
based claim to a constitutional right.

     Abortion no longer invokes a constitutional interest, because there
is no constitutional right to obtain an abortion, much less perform one.
See Dobbs, 142 S. Ct. at 2242. Now, federal courts “must treat parties in
cases concerning abortion the same as parties in any other context,”
SisterSong Women of Color Reprod. Just. Collective v. Governor of Ga.,
40 F.4th 1320, 1328 (11th Cir. 2022); and “[f]ew professions require more

careful” examination than “that of medicine,” Tingley v. Ferguson, 47
F.4th 1055, 1082 (9th Cir. 2022) (cleaned up); see also, e.g., Dent v. West
Virginia, 129 U.S. 114, 122 (1889) (upholding the state’s right to enforce

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medical licensing requirements); Hawker v. People of New York, 170 U.S.
189, 191 (1898) (upholding the state’s right to determine whether an
individual has “sufficient good character” to practice medicine).
     As the district court explained, “Dobbs eliminated the right to
elective abortion[,]” and a state may therefore “ban the procedure to serve

such interests as ‘respect for and preservation of prenatal life at all stages
of development,’ ‘the preservation and integrity of the medical
profession,’ and ‘the prevention of discrimination on the basis of race, sex,
or disability.’” 1-ER-10 (quoting Dobbs, 142 S. Ct. at 2284). And the
district court correctly reasoned that, because “‘there is no right to
practice medicine which is not subordinate to the police power of the
states’ . . . [w]ithout the constitutional protections of Roe and Casey
provided, the chilling effect [S.B. 1475] [has] on doctors performing
elective abortions is not the type of injury that can sustain a pre-

enforcement [challenge].” Id. (quoting United States v. Farhane, 634 F.3d
127, 137 (2d Cir. 2011)) (citing cases).
      Accordingly, like the statute at issue in Dobbs, the Reason
Regulations are “reasonable ‘health and welfare’ laws” that do not
implicate any constitutional right to obtain—much less perform—
abortions. See Tingley, 47 F.4th at 1082 (quoting Dobbs, 142 S. Ct. at

2284). They are simply state regulations governing licensed healthcare
professionals, which “not only fall within the tradition of state regulation



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of the health profession, but they also affect the health of children—a
vulnerable group in the eyes of the law.” Id. at 1083 (cleaned up).
      In addition to Plaintiffs’ inability to bring a constitutionally affected
abortion-based challenge, their standalone due process claim, which they
base on a right to “life, liberty, and property,” Appellants’ Br. at 37–40,

does not articulate a “concrete and particularized” and “actual or
imminent” harm. Lujan, 504 U.S. at 560. They merely claim to suffer
from opaque monetary “compliance costs” that come with having to
provide services under the burden of the Reason Regulations. Appellants’
Br. at 30–36. They say that in the past, they offered “fetal screening that
revealed the likelihood of or testing that led to a diagnosis of a fetal
condition”; “non-directive counseling and refer[ring] those who chose” to
abort their unborn child for whatever reason; and collaboration with
professionals, such as genetic counselors, who help patients decide

whether to abort their children. Appellants’ Br. at 31–35. Now, they
argue, the Reason Regulations have injured them by forcing them to
“over-comply” with an abortion-based medical regulation. Appellants’
Brief at 2.
      “Over-compliance,” according to Plaintiffs, means being unable “to
offer as much care to patients with suspected or known fetal conditions

as is legally permissible” under the Reason Regulations. Appellants’ Br.
at 44. As far as specifics on this “over-compliance,” Plaintiffs say they no
longer offer abortion care “whenever there is even the slightest indication

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of a fetal condition,” even if this was a significant part a doctor’s practice
previously. Appellants’ Br. at 33; see also Appellants’ Br. at 20, 42–43.
They also claim to be hampered from offering “full-spectrum, non-
directive options counseling” and are forced to refuse referrals from
genetic counselors. Appellants’ Br. at 20, 31–33, 42–43, 50–51. This

approach to compliance with the regulations is Plaintiffs’ prerogative, but
it does not match the plain language of the statute, which merely
prohibits abortion for the “sole[]” reason of the “presence or presumed
presence of an abnormal gene expression.” S.B. 1457 § 2; A.R.S. § 13-
3603.02(G)(2). The statute does not say “slightest indication,” nor does it
cover all “fetal condition[s].” Appellants’ Br. at 33. Their injury of over-
compliance is self-inflicted.
     Plaintiffs’ “over-compliance” with the Reason Regulations is not a
cognizable injury for the purposes of a due process claim—it is evidence

that the regulations are clear enough for Plaintiffs to follow. And it is
unclear how due process plays a role in these routine, speech-based
decisions to keep in compliance. This is especially true considering that
the statute neither mandates nor prohibits providing fetal screening,
providing counseling to patients, or collaborating with other healthcare
professionals.

     A right to due process does not shield Plaintiffs from having to
comply with professional regulations such as S.B. 1457. See SisterSong,
40 F.4th at 1325–26. Plaintiffs have neither established a constitutional

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basis for their claim nor shown how it presents an imminent, concrete
harm. That is, their claim is not ripe. See also Thomas v. Anchorage
Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000) (the need for
a concrete and imminent injury “coincides squarely” with the injury-in-
fact prong of the standing test). They have therefore failed to meet the

first prong of the pre-enforcement standing requirement.

           2.     Plaintiffs have failed to show that they plan to
                  take actions that violate the Reason Regulations.
     On the second element of pre-enforcement standing, Plaintiffs have
no plans to take actions that are barred by the Reason Regulations.
Indeed, they say they want to continue providing “as much [] care as is
legally permissible” under the statute. Appellants’ Br. at 46. But,
according to Plaintiffs, their ability to provide verbal consultations is
hampered by the purported vagueness of the statute, forcing them into
an   opaque     injury   of   “over-compliance”—that        is,   self-censoring.
Appellants’ Br. at 27, 30–31, 34; see also Appellants’ Br. at 19–21. But as
the district court held, “Nothing in [S.B. 1457] penalizes Plaintiffs for
their counseling or related speech . . . . To the extent Plaintiffs are self-
censoring their communications with patients, that self-censorship is not
attributable to an actual and well-founded fear that the [statute] forbid[s]
such speech.” 1-ER-11.

     Unless Plaintiffs intend to abort unborn children knowingly for the
sole reason of a genetic abnormality, they have no intention of breaking


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the law. They have never alleged such an intent. They have therefore
failed to meet the second prong of the pre-enforcement standing
requirement.

           3.    Plaintiffs have failed to show that there is a
                 credible threat that they will be prosecuted if they
                 violate the Reason Regulations.
     With respect to the third element of pre-enforcement standing,
Plaintiffs do not show that there is a credible threat of prosecution. The
facts show that prosecution is unlikely.
     This Court relies on a three-factor test to determine whether a
threat of enforcement is legitimate enough to satisfy the requirements
for an Article III injury: (1) the plaintiff must have “‘concrete plan’ to
violate the law, (2) . . . the enforcement authorities [must] have
‘communicated a specific warning or threat to initiate proceedings,’ and
(3) . . . there is a ‘history of past prosecution or enforcement.’” Tingley,
47 F.4th at 1067.

     As noted above, Plaintiffs do not have a plan—concrete or
otherwise—to violate the law. They simply invoke their right to advise
their clients. But the statute does not prohibit speech. Moreover, the

state’s chief law enforcement officer has vowed that she will not enforce
S.B. 1457, and she will prevent county attorneys from enforcing the




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statute. 7 And third, Plaintiffs cite to no history of prosecution or
enforcement of the statute.

     Plaintiffs purportedly live in fear of what might happen “if [they]
were to cease over-complying with [S.B. 1457]” and what might then
happen if they subsequently tried “to decipher and offer as much care as
is legally permissible under [S.B. 1457].” Appellants’ Br. at 36. And
Plaintiffs’ hypothetical does not end there. They ponder what might
happen if the current attorney general is not reelected in 2026 and a

different, unidentified future attorney general decides to prosecute
abortion providers who violate the law. Appellants’ Br. at 49. This is not
a credible threat of prosecution; it is an invented parade of horribles that
have no basis in fact. Plaintiffs fail to establish the third prong of the
standing requirement for a pre-enforcement challenge.
                                   *   *    *
     Plaintiffs fail to establish standing to bring their pre-enforcement
challenge against the Reason Regulations. Their claim does not affect a
constitutional interest.     Post-Dobbs, no abortion-related right is
implicated. Plaintiffs’ due process claim is defective as well, because they
propose nothing more than the “injury” of self-censorship stemming from


7 Kris Mayes, 12 Point Plan, https://bit.ly/3DEiEHf; see Ariz. Att’y Gen.,
Ariz. Agency Handbook, Ch. 1 at 1.3.7 (2018), https://bit.ly/3Wf37FW
(citing A.R.S. § 41–193(A)(4)(4)–(5); Associated Press, U.S. Supreme
Court: Arizona Can Enforce Genetic Issue Abortion Ban, KTAR NEWS
(June 30, 2022), http://bit.ly/3RvhRy5.

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“over-compliance” with a statute that does not prohibit speech. What’s
more, the attorney general has vowed that she will not prosecute them
even if they knowingly abort unborn children with genetic abnormalities
in direct violation of the law. On all three elements of the pre-
enforcement injury-in-fact analysis, Plaintiffs fail, and therefore cannot

establish the injury necessary to satisfy the first element of standing. See
Lujan, 504 U.S. at 560; Tingley, 47 F.4th at 1067.

     B.    Plaintiffs have failed to establish the second and third
           elements of standing.
     Although the district court did not directly address the second
requirement for pre-enforcement standing (causation), it did find that
Plaintiffs could not satisfy the third prong (“likelihood of success”),
because they had failed to demonstrate a cognizable injury. 1-ER-13.
Plaintiffs concede that if they cannot establish an injury-in-fact, they
cannot establish the two remaining elements. See Appellants’ Br. at 30–
31 n.5. We agree. And in light of the fact that Plaintiffs fail to establish

standing on all three prongs of the standing test, the district court
correctly denied their pre-enforcement vagueness challenge.
                               CONCLUSION

     The district court correctly held that Plaintiffs lack pre-
enforcement standing.




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Respectfully submitted this 18th day of May, 2023.

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                 STATEMENT OF RELATED CASES
     Pursuant to Ninth Circuit Rule 28-2.6, counsel for Intervenors-
Defendants / Proposed Appellees state that they know of no related case
pending in this Court beyond the cross-appeal stemming from the district
court’s firm preliminary injunction order, Nos. 21-16645 and 21-16711.

                                                  s/Kevin H. Theriot
                                                  Kevin H. Theriot




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                     CERTIFICATE OF SERVICE
     I hereby certify that on May 18, 2023, I electronically filed the
foregoing Provisions Answer of Intervenors-Defendants / Proposed
Appellees Arizona Senate President Petersen and Speaker of the
Arizona House of Representatives Toma with the Clerk of the Court for

the United States Court of Appeals for the Ninth Circuit by using the
CM/ECF system, which will accomplish service on counsel for all parties
through the Court’s electronic filing system.



                                     s/Kevin H. Theriot
                                     Kevin H. Theriot

Dated: May 18, 2023.




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